               Case
ctronically FILED       2:19-cv-01239-MWF-AS
                  by Superior                                         Document
                              Court of California, County of Los Angele,s               1-3~Q p~lFiled
                                                                          on 12/28/20118896              02/19/19
                                                                                                  Sherri R. Carter, ExecutivePage     1 ofof Court,
                                                                                                                             Officer/Clerk   39 byPage      ID #:158
                                                                                                                                                    N. Alvarez,Deputy Clerk


                                                               '                                                                         FOR COURT USE ONLY
                                                    S~ M M 0 N S                                                                      (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDIC/AL)
       NOTICE TO DEFENDANT:
       (AVISO AL DEMANDADO):
        Option Care Enterprises, Inc. See Attachment 1.

       YOU ARE BEING SUED BY PLAINTIFF:
       (LO ESTA DEMANDANDO EL DEMANDANTE):
         Jennifer Harwood


         NOTICE! You have been sued. The. court may decide against you without your being heard un[ess you respond within 30 days. Read the information
         be[ow.
             You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fi[e a written response at this court and have a copy
          served on the p[aintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
          case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
          Online Self-Help Center (www.courtinfo.ca.gov/se/fhe/p), your county law library, or the courthouse nearest you. If you cannot pay the fi[ing fee, ask
          the court c[erk for a fee waiver form. If you do not fi[e your response on time, you may lose the case by defau!t, and your wages, money, and property
          may be taken without further warning from the court.
             There are other legal requirements. You may want to call an attorney right away. If you do not know an aftorney, you may want to call an aftorney
          referral service. If you cannot afford an attorney, you may be e[igib[e for free legal services from a nonprofit legal services program. You can locate
          these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
         (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
          costs on any seft[ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         iAV/S01 Lo han demandado. Si no responde dentro de 30 dias, /a corte puede decidir en su contra sin escuchar su versi6n. Lea /a inforrnacidn a
         continuaci6n.
            Tiene 30 DiAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
         corte y hacer que se entregue una copia al demandante. Una carta o una l/amada te/ef6nica no lo protegen. Su respuesta por escrito tiene que estar
         en formato legal correcto si desea que procesen su caso en la corte. Es posib/e que haya un formu/ario que usted pueda usar para su respuesta.
         Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
         biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida a/ secretario de la corte
         que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
         podra quitar su sueldo, dinero y bienes sin mas advertencia.
            Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
         remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtener servicios legales gratuitos de un
         programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
         (www.lawhe[pcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
         colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a rec/amar las cuotas y los costos exentos por imponer un gravamen sobre
         cua/quier recuperacion de $10, 000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
         pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

       The name and address of the court is:                                                                             CASE NUM6ER:
                                                                                                                         (N°me.o dei cas°):
       (EI nombre y direcci6n de la corte es):
       Stanley Mosk Courthouse, Central District
       111 North Hill Street
       Los Angeles, California 90012
       The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
       (EI nombre, la direcci6n y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
       Carney R. Shegerian, Esq. (SBN 150461)                                                               (310)860-0770
          g
       22S gan~a~orii a~l~u te'T00, Santa Monica, CA 90401
       DATE:                                                                                Clerk, by                                                                     Deputy
       (Fecha)      December 28, 2018                                                       (Secretario)                                                                 (Adjunto)
       (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de esta citation use e/ formulario Proof of Service of Summons, (POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
        [SEAL]
                                      1. 0 as an individual defendant.
                                      2. 0 as the person sued under the fictitious name of (specify):                                         ~


                                                3, ~ on behalf of (specify):

                                                    under:        CCP 416.10 (corporation)            0 CCP 416.60 (minor)
                                                             0 CCP 416.20 (defunct corporation)       0 CCP 416.70 (conservatee)
                                                             [~ CCP 416.40 (association or partnership) 0 CCP 416.90 (authorized person)

                                                          ~ other (specify):
                                                4. 0 by personal delivery on (date):
                                                                                                                                                                           Pa°e 1 of 1
        Form Adopted for Mandatory Use                                              SUMMONS                                                       Code of Civil Procedure §§412.20, 465
          Judicial Council of California                                                                                                                           www.courtinfo.ca.gov
          SUM-100 [Rev. July 1, 2009]
    Case 2:19-cv-01239-MWF-AS Document 1-3 Filed 02/19/19 Page 2 of 39 Page ID #:159


                                                                                                                            SUM-200(A)
                                                                                               CASE NUMeER:
    SHORT TITLE:
_ Hardwood v. Option Care Enterprises. Inc., et, al.

                                                        INSTRUCTIONS FOR USE
   ♦ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   ♦ If this attachment is used, insert the following statement in the piaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

      0 Plaintiff               ~✓Defendant Q Cross-Complainant Q Cross-Defendant

    Option Care, Option Care Home Care, Inc., Option Care Home Health Of California, Inc., Option Care, Inc.,
    Walgreen Co., Walgreens Boots Alliance, Inc., Madison Dearborn Partners, John C. Rademacher, Lori Hart,
    Mike Rude, and DOES l to 100, inclusive,




                                                                                                                  Page     1    of
                                                                                                                                     Page 1 of 1
 FormAdoptedforMandatoryUse
   Judicial Councll of Califomia            ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                 Attachment to Summons
    Case 2:19-cv-01239-MWF-AS Document 1-3 Filed 02/19/19 Page 3 of 39 Page ID #:160


                                                                                                                           SUM-200(A)
    SHORT TITLE:                                                                              CASE NUMaER:
_ Hardwood v. Option Care Enterprises. Inc., et, al.

                                                    INSTRUCTIONS FOR USE
   ♦ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  ♦ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

   List additional parties (Check only one box. Use a separate page for each type of party.):

     F_~ Plaintiff             ✓ Defendant 0 Cross-Complainant F7 Cross-Defendant
                               ~

   Option Care, Option Care Home Care, Inc., Option Care Home Health Of California, Inc., Option Care, Inc.,
   Walgreen Co., Walgreens Boots Alliance, Inc., Madison Dearborn Partners, John C. Rademacher, Lori Hart,
   Mike Rude, and DOES 1 to 100, inclusive,




                                                                                                                Page 1 of
                                                                                                                                  Page 1 of 1
 FartnAdoptedforMandatoryUse
   Judfcial Coundl of Cal'rfomia           ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1.20071                 Attachment to Summons
              Case 2:19-cv-01239-MWF-AS Document 1-3 Filed 02/19/19 Page 4 of 39 Page ID #:161
ctronically FILED by Superior Court of California, County of Los Angeles on 12/28/20i1($8i!rWlo~rri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
r

      SHORT TITLE:                                                                                                CASE NUMBER

      Hardwood v. Option Care Enterprises. Inc., et, al.

                                    CIVIL CASE COVER SHEET ADDENDUM AND
                                            STATEMENT OF LOCATION
                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

              This form is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

       Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
          JURY TRIAL? ® YES CLASS ACTION? ❑ YES LIMITED CASE? ❑YES TIME ESTIMATED FOR TRIAL 1 S                                                          ❑ HOURS/ ® DAYS

       Item II. Indicate the correct district and courthouse location (4 steps — If you checked "Limited Case", skip to Item III, Pg. 4):


          Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
          case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.


          Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.


          Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
          checked. For any exception to the court location, see Local Rule 2.0.

                                  Applicable Reasons for Choosing Courthouse Location (see Column C below)

           1. Class actions must be filed in the Stanley Mosk Courthouse, central district.              6. Location of property or permanently garaged vehicle.
           2. May be filed in central (other county, or no bodily injury/property damage).               7. Location where petitioner resides.
           3. Location where cause of action arose.                                                      8. Location wherein defendanUrespondent functions wholly.
           4. Location where bodily injury, death or damage occurred.                                    9. Location where one or more of the parties reside.
           5. Location where performance reqwred or defendant resides.                                  10. Location of Labor Commissioner Office



          Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.


                                     A                                                                 B                                                               C
                         Civil Case Cover Sheet                                                 Type of Action                                            Applicable Reasons -
                               Category No.                                                    (Check only one)                                            See Step 3 Above

                                 Auto (22)                ❑ A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                          1., 2., 4.
         0
         ~ o
         a~              Uninsured Motorist (46)          ❑ A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist                     1., 2., 4.


                                                          ❑ A6070 Asbestos Property Damage                                                                2.
                              Asbestos (04)
                                                          ❑ A7221 Asbestos - Personal Injury/Wrongful Death                                               2.


                          Product Liability (24)          ❑ A7260 Product Liability (not asbestos or toxic%nvironmental)                                  1., 2., 3., 4., 8.

                                                          ❑ A7210 Medical Malpractice - Physicians & Surgeons                                             1., 4.
                        Medical Malpractice (45)
                                                          ❑ A7240 Other Professional Health Care Malpractice                                              1., 4.


                                                          ❑ A7250 Premises Liability (e.g., slip and fall)                                                1., 4.
                                 Other
                             Personal Injury              ❑ A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,                         1., 4.
                            Property Damage                       assault, vandalism, etc.)
                             Wrongful Death               ❑ A7270 Intentional Infliction of Emotional Distress
                                  (23)                                                                                                                    1., 4.
                                                          ❑ A7220 Other Personal Injury/Property Damage/Wrongful Death



       LACIV 109 (Rev. 03/11)                           CIVIL CASE COVER SHEET ADDENDUM                                                               Local Rule 2.0
       LASC Approved 03-04                                 AND STATEMENT OF LOCATION                                                                      Page 1 of 4
              Case 2:19-cv-01239-MWF-AS Document 1-3 Filed 02/19/19 Page 5 of 39 Page ID #:162
Y:


     SHORT TITLE:                                                                                   TCASE NUMBER

     Hardwood v. Option Care Enterprises. Inc.. et. al.

                                     A                                                         B                                                      C
                          Civil Case. Cover Sheet                                        Type of Action                                  Applicable Reasons -
                               Category No.                                             (Check only one)                                  See Step 3 Above

                             Business Tort (07)         ❑ A6029 Other Commercial/Business Tort (not fraud/breach of contract)            1., 3.


                              Civil Rights (08)         ❑ A6005 Civil Rights/Discrimination                                              1., 2., 3.


                              Defamation (13)           ❑ A6010 Defamation (slander/libel)                                               1., 2., 3.


                                 Fraud (16)             ❑ A6013 Fraud (no contract)                                                      1., 2., 3.


                                                        ❑ A6017 Legal Malpractice                                                        1., 2., 3.
                        Professional Negligence (25)
                                                        ❑ A6050 Other Professional Malpractice (not medical or legal)                    1., 2., 3.


                                 Other (35)             ❑ A6025 Other Non-Personal Injury/Property Damage tort                           2.,3.

         c               Wrongful Termination (36)      ® A6037 Wrongful Termination                                                     1. 2~ 3.
         a~
          E
          ~
          0                                             ❑ A6024 Other Employment Complaint Case                                          1., 2., 3.
         c.               Other Employment (15)
          E                                             ❑ A6109 Labor Commissioner Appeals                                               10.
         w

                                                        ❑ A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                         2 5
                                                                eviction)
                        Breach of Contract/ Warranty                                                                                     2., 5.
                                    (06)                ❑ A6008 ContractNVarranty Breach -Seller Plaintiff (no fraud/negligence)
                              (not insurance)           ❑ A6019 Negligent Breach of Contract/Warranty (no fraud)                         1., 2., 5.

                                                                                                                                         1., 2., 5.
                                                        ❑ A6028 Other Breach of ContractNl/arranty (not fraud or negligence)


                                                        ❑ A6002 Collections Case-Seller Plaintiff                                        2., 5., 6.
                              Collections (09)
          0                                             ❑ A6012 Other Promissory Note/Collections Case                                   2., 5.
         0

                         Insurance Coverage (18)        ❑ A6015 Insurance Coverage (not complex)                                         1., 2., 5., B.


                                                        ❑ A6009 Contractual Fraud                                                        1., 2., 3., 5.

                            Other Contract (37)         ❑ A6031 Tortious Interference                                                    1., 2., 3., 5.
                                                        ❑ A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)            1., 2., 3., 8.

                         Eminent Domain/Inverse         ❑ A7300 Eminent Domain/Condemnation                Number of parcels             2.
                           Condemnation (14)
         N
                          Wrongful Eviction (33)        ❑ A6023 Wrongful Eviction Case                                                   2., 6.


                                                        ❑ A6018 Mortgage Foreclosure                                                     2., 6.

                         Other Real Property (26)       ❑ A6032 Quiet Title                                                              2., 6.

                                                        ❑ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)   2., 6.

                    Unlawful Detainer-Commercial
                                                        0 .A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)           2., 6.
                                   (31)
                    Unlawful Detainer-Residential       ❑ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)           2., 6.
                               (32)

                            Unlawful Detainer-          ❑ A6020FUnlawful Detainer-Post-Foreclosure                                       2., 6.
                           Post-Foreclosure (34)

                    Unlawful Detainer-Drugs (38)        ❑ A6022 Unlawful Detainer-Drugs                                                  2., 6.
                    r

     LACIV 109 (Rev. 03/11)                            CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.0
     LASC Approved 03-04                                  AND STATEMENT OF LOCATION                                                      Page 2 of 4
            Case 2:19-cv-01239-MWF-AS Document 1-3 Filed 02/19/19 Page 6 of 39 Page ID #:163
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     SHORT TITLE:                                                                                        CASE NUMBER

     Hardwood v. Ontion Care Enternrises. Inc., et. al.

                                  A                 -                                           B                                             C
                       Civil Case Cover Sheet                                              Type of Action                        Applicable Reasons -
                            Category No.                                                  (Check only one)                        See Step 3 Above

                         Asset Forfeiture (05)           ❑   A6108 Asset Forfeiture Case                                         2., 6.


            3         Petition re Arbitration (11)       ❑   A6115 Petition to Compel/Confirm/Vacate Arbitration                 2., 5.
          a~
         .~
          a~
         ~                                               ❑   A6151 Writ - Administrative Mandamus                                2., 8.
         io
         Z
                         Writ of Mandate (02)            ❑   A6152 Writ - Mandamus on Limited Court Case Matter                  2.
         =o
          ~
         ~                                               ❑   A6153 Writ - Other Limited Court Case Review                        2.


                      Other Judicial Review (39)         ❑   A6150 Other Writ /Judicial Review                                   2., 8.


                    Antitrustlrrade Regulation (03)      ❑   A6003 Antitrust/Trade Regulation                                    1., 2., 8.


                       Construction Defect (10)          ❑   A6007 Construction Defect                                           1., 2., 3.

                     Claims Involving Mass Tort
                                                         ❑   A6006 Claims Involving Mass Tort                                    1., 2., 8.
                                (40)

                       Securities Litigation (28)        ❑   A6035 Securities Litigation Case                                    1., 2., 8.

                              Toxic Tort
                                                         ❑   A6036 Toxic Tort/Environmental                                      1., 2., 3., 8.
                          Environmental (30)

                     Insurance Coverage Claims
                                                         ❑   A6014 Insurance Coverage/Subrogation (complex case only)            1., 2., 5., 8.
                      from Complex Case (41)

                                                         ❑   A6141 Sister State Judgment                                         2., 9.

                                                         ❑   A6160 Abstract of Judgment                                          2., 6.

                            Enforcement                  ❑   A6107 Confession of Judgment (non-domestic relations)               2., 9.
                          of Judgment (20)               ❑   A6140 Administrative Agency Award (not unpaid taxes)                2., 8.

                                                         ❑   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax      2., 8.

                                                         ❑   A6112 Other Enforcement of Judgment Case                            2., 8., 9.


                              RICO (27)                  ❑   A6033 Racketeering (RICO) Case                                      1., 2., 8.


                                                         ❑   A6030 Declaratory Relief Only                                       1., 2., 8.

                         Other Complaints                ❑   A6040 Injunctive Relief Only (not domestic/harassment)              2., 8.
                     (Not Specified Above) (42)          ❑   A6011 Other Commercial Complaint Case (non-tort/non-complex)        1., 2., 8.

                                                         ❑   A6000 Other Civil Complaint (non-tort/non-complex)                  1., 2., 8.

                       Partnership Corporation
                                                         ❑   A6113 Partnership and Corporate Governance Case                     2., 8.
                          Governance (21)

                                                         ❑   A6121 Civil Harassment                                              2., 3., 9.
       ~ ~                                               ❑   A6123 Workplace Harassment                                          2., 3., 9.
       d o
       m d                                               ❑   A6124 Elder/Dependent Adult Abuse Case                              2., 3., 9.
       =,   a              Other Petitions
                        (Not Specified Above)            ❑   A6190 Election Contest                                              2.
       M V                      (43)
                                                         ❑   A6110 Petition for Change of Name                                   2., 7.

                                                         ❑   A6170 Petition for Relief from Late Claim Law                       2., 3., 4., 8.

                                                         ❑   A6100 Other Civil Petition                                         2., 9.




     LACIV 109 (Rev. 03/11)                             CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.0
     LASC Approved 03-04                                   AND STATEMENT OF LOCATION                                            Page 3 of 4
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    SHORT TITLE:                                                                             CASE NUMBER

    Hardwood v. Option Care Enterprises. Inc., et, al.


     Item I11. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
     circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                         ADDRESS:
      REASON: Check the appropriate boxes for the numbers shown
      under Column C for the type of action that you have selected for
                                                                         Various addresses for Los Angeles
      this case.


              ❑ 1. ®2. ❑ 3. ❑4. ❑5. ❑6. ❑7. ❑8. ❑9. ❑10.

      CITY:                                    STATE:      ZIP CODE:

       Los Anizeles                             CA         90012

     Item IV. Declaration ofAssignment: I declare under penalty of perjury under the laws of the State of California that the foregoing is true
     and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk                   courthouse in the
     C .ntral                   District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local
     Rule 2.0, subds. (b), (c) and (d)].




     Dated:        December 28, 2018
                                                                                         (SIGNATURE O AT ORNEY/FILING RT )




     PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
     COMMENCE YOUR NEW COURT CASE:

          1. Original Complaint or Petition.

          2. If filing a Complaint, a completed Summons form for issuance by the Clerk.

          3. Civil Case Cover Sheet, Judicial Council form CM-010.

          4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
             03/11).

          5. Payment in full of the filing fee, unless fees have been waived.

          6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
             minor under 18 years of age will be required by Court in order to issue a summons.

          7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
             must be served along with the summons and complaint, or other initiating pleading in the case.




    LACIV 109 (Rev. 03/11)                   CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.0
    LASC Approved 03-04                         AND STATEMENT OF LOCATION                                                    Page 4 of 4
     Case 2:19-cv-01239-MWF-AS Document18STCV10315
                                         1-3 Filed 02/19/19 Page 8 of 39 Page-----r-,
                                                                              ID #:165-
                 Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Barbara Scheper



       Carney R. Shegerian, Esq., State Bar No. 150461
       CShegerian@Shegerianlaw.com
 2     Anthony N uyen, Esq~., State Bar No. 259154
       ANguyen a~Shegerianlaw.com
 3     Astineh Arakelian, Esq., State Bar No. 265761
       AArakelian Shegerianlaw.com
 4     SHEGE         & ASSOCIATES, INC.
       225 Santa Monica Boulevard, Suite 700
 5     Santa Monica, California 90401
       Telephone Number: . (310) 860-0770
 6     Facsimile Number: (310) 860-0771
 7     Attorneys for Plaintiff
       JENNIFER HARWObD
 8

 9                SUPERIOR COURT OF THE STATE OF CALIFORNIA
lo           FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
11

12     JENNIFER HARWOOD,                                        Case No.:
13                                                              PLAINTIFF JENNIFER HARWOOD'S
             Plaintiff,                                         COMPLAINT FOR DAMAGES FOR:
14
                                                                  (1) DISCRIMINATION, HARASSMENT,
15     vs.                                                            AND RETALIATION ON THE
                                                                      BASIS OF DISABILITY IN
16                                                                    VIOLATION OF FEHA;
       OPTION CARE ENTERPRISES,
17     INC., OPTION CARE, OPTION                                  (2) DISCRIMINATION, HARASSMENT,
       CARE HOME CARE, INC.,                                          AND RETALIATION ON THE
ls     OPTION CARE HOME HEALTH                                        BASIS OF SEX IN VIOLATION OF
       OF CALIFORNIA, INC., OPTION                                    FEHA;
19     CARE INC., WALGREEN CO.,
       WALUyREENS BOOTS                                           (3) DISCRIMINATION, HARASSMENT,
20     ALLIANCE, INC., MADISON                                        AND RETALIATION ON THE
       DEARBORN PARTNERS, JOHN                                        BASIS OF GENDER IN VIOLATION
21     C. RADEMACHER, LORI HART,                                      OF FEHA;
       MIKE RUDE, and DOES 1 to 100,
22     inclusive,                                                 (4) FAILURE TO PROVIDE
                                                                        REASONABLE
23                                                                      ACCOMMODATION IN
             Defendants.                                                VIOLATION OF FEHA;
24
                                                                  (5) FAILURE TO ENGAGE IN THE
25                                                                    INTERACTIVE PROCESS IN
                                                                      VIOLATION OF FEHA;
26
                                                                  (6) FAILURE TO PREVENT
27                                                                    DISCRIMINATION, HARASSMENT,
                                                                      AND RETALIATION IN
28                                                                    VIOLATION OF FEHA;


                                          PLAINTIFF' S COMPLAINT FOR DAMAGES
     Case 2:19-cv-01239-MWF-AS Document 1-3 Filed 02/19/19 Page 9 of 39 Page ID #:166



 1                                            (7) BREACH OF EXPRESS ORAL
                                                  CONTRACT NOT TO TERMINATE
 2                                                EMPLOYMENT WITHOUT GOOD
                                                  CAUSE;
 3
                                              (8) BREACH OF IMPLIED-IN-FACT
 4                                                CONTRACT NOT TO TERMINATE
                                                  EMPLOYMENT WITHOUT GOOD
 5                                                CAUSE;
 6                                            (9) NEGLIGENT HIRING,
                                                  SUPERVISION, AND RETENTION;
 7
                                             (10) WRONGFUL TERMINATION OF
 8                                                EMPLOYMENT IN VIOLATION OF
                                                  PUBLIC POLICY;
 9
                                             (11) VIOLATION OF LABOR CODE
10                                                § 1102.5;
11                                           (12) INTENTIONAL INFLICTION OF
                                                  EMOTIONAL DISTRESS;
12
                                            DEMAND FOR JURY TRIAL
13

14

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                                                -2-
                                PLAINTIFF'S COMPLAINT FOR DAMAGES
     Case 2:19-cv-01239-MWF-AS Document 1-3 Filed 02/19/19 Page 10 of 39 Page ID #:167



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 4     I PARTIES                                                                            1
 s     I FACTS COMMON TO ALL CAUSES OF ACTION                                               3
 6     FIRST CAUSE OF ACTION                                                               13
 7          Violation of FEHA (Government Code § 12900, et seq. ) (Discrimination,
             arassment, and Retaliation on the Basis of Disability)—Against All Entity
 s          Defendants and Does 1 to 100, Inclusive)                                       13
 9      SECOND CAUSE OF ACTION                                                             15
10            iolation of FEHA (Government § 12900, et seq. ) (Discrimination,
            Qarassment, and Retaliation on the Basis of Sex)—Against All
11          Entity Defendants and Does 1 to 100, Inclusive)                                15
12     THIRD CAUSE OF ACTION                                                               17
13           Violation of FEHA (Government § 12900, et seq.)(Discrimination,
              arassment, and Retaliation on the Basis of Gender)—Against All
14          Entity Defendants and Does 1 to 100, Inclusive)                                17
15     FOURTH CAUSE OF ACTION                                                              18
16           Violation of FEHA (Government Code § 12940(a), (i), (m), (n~) &ilure to
            ~rovide Reasonable Accommodation)—Against All Entity De ents and
17          Does 1 to 100, Inclusive)                                                      18
ls     FIFTH CAUSE OF ACTION                                                               19
19           Failure to Engage in Interactive Process (Government Code § 12940(a), (i),
             m), (n))—Against All Entity Defendants and Does 1 to 100, Inclusive)          19
20
       SIXTH CAUSE OF ACTION                                                               20
21
             Violation of FEHA (Government Code § 12940(k) (Failure to Prevent
22            iscrimination, Harassment, and Retaliation)—Against All Entity Defendants
            and Does 1 to 100, Inclusive)                                                  20
23
       SEVENTH CAUSE OF ACTION                                                             22
24
             Breach of Express Oral Contract Not to Terminate Employment Without
25            ood Cause)-!-Against All Entity Defendants and Does 1 to 100, Inclusive)     22
26     EIGHTH CAUSE OF ACTION                                                              22
27          (Breach of Impl'ied-in-Fact Contract Not to Terminate Employment Without
            Good Cause (Marketing West, Inc. v. San~yo Fisher (1992) 6 Ca1.App.4th 603;
2s          Civil Code § 1622}—Against All Entity Defendants and Does 1 to 100,
            Inclusive)                                                                     22
                                                 4-
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 1     NINTH CAUSE OF ACTION                                                             23
 2          (Negligent Hiring, Supervision, and Retention—Against All Entity
            Defendants and Does 1 to 100, Inclusive)                                     23
 3
       TENTH CAUSE OF ACTION                                                             24
 4
             ~ ron ful Termination of Employment in Violation of Public Policy (Labor
            CW
 5          code ~1102.5; FEHA, Government Code § 12900, et seq.)—Against All
            Entity Defendants and Does 1 to 100, Inclusive)                              24
 6
       ELEVENTH CAUSE OF ACTION                                                          25 'I
 7
            (Violations of Labor Code § 1102.5, et seq.—Against All Entity Defendants
 8          and Does 1 to 100, Inclusive)                                                25
 9     TWELFTH CAUSE OF ACTION                                                           25
10          (Intentional Infliction of Emotional Distress—Against All Defendants and
            Does 1 to 100, Inclusive)                                                    25
11
       PRAYER                                                                            26
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 1           Plaintiff, Jennifer Harwood, alleges, on the basis of personal knowledge and/or
 2      information and belief:
 3

 4                                           SUMMARY
 s           This is an action by plaintiff, Jennifer Harwood ("plaintiff' or "Harwood"), whose
 6      employment with defendants Option Care Enterprises, Inc. ("Option Care Enterprises"),
 7      Option Care ("Option Care"), Option Care Home Care, Inc. ("Option Care Home Care"),
 s Option Care Home Health of California, Inc. ("Option Care Home Health"), Option
 9      Care, Inc. ("Option Care, Inc."), Walgreen Co. ("Walgreen Co."), Walgreens Boots
lo Alliance, Inc. ("Walgreens Boots"), and defendant Madison Dearborn Partners
11     ("Madison Dearborn") (collectively the "entity defendants") was wrongfully terminated.
12      Plaintiff brings this action against defendants for economic, non-economic,
13      compensatory, and punitive damages, pursuant to Civil Code section 3294, pre judgment
14      interest pursuant to Code of Civil Procedure section 3291, and costs and reasonable
15     attorneys' fees pursuant to Government Code section 12965(b). and Code of Civil
16     Procedure section.1021.5.
17

18                                            PARTIES
19           1. Plaintiff: Plaintiff Harwood is, and at all times mentioned in this Complaint
20     was, a resident of the County of Orange, California.
21          2. Defendants: The entity defendants are, and at all times mentioned in this
22     Complaint were, authorized to operate by the State of California and the United States
23     government and authorized and qualified to do business in Los Angeles County and the
24     County of Orange. Defendant entities' place of business, where the following causes of
25     action took place, was and is in the County of Orange and Los Angeles County.
26          3. Defendants Walgreen Co.'s and Walgreens Boots's principle place of business
27     is in California. Walgreen Co.'s and Walgreens Boots's contain an amount of business
28     activity (in number of employees, sales, production and operation activity and income)


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 1      in California that is significantly larger than any other state in which the corporation
 2      conducts business. Therefore, at all relevant times, Walgreen Co. and Walgreens Boots
 3     I were citizens of the state of California.
 4           4. Defendant John C. Rademacher ("defendant" or "Rademacher") is, and at all
 5      times mentioned in this Complaint was, a supervisor with defendants. Defendant
 6      Rademacher is, and at all times mentioned in this Complaint was, a resident of Illinois.
 7      Defendant Lori Hart ("defendant" or "Hart") is, and at all times mentioned in this
 8      Complaint was, a supervisor with defendants. Defendant Hart is, and at all times
 9      mentioned in this Complaint was, a resident of Salem, Oregon. Defendant Mike Rude
lo ("defendant" or "Rude") is, and at all times mentioned in this Complaint was, a
11      supervisor with defendants. Defendant Rude is, and at all times mentioned in this
12      Complaint was, a resident of Illinois.
13           5. Doe defendants: Defendants Does 1 to 100, inclusive, are sued under fictitious
14      names pursuant to Code of Civil Procedure section 474. Plaintiff is informed and be-
15      lieves, and on that basis alleges, that each of the defendants sued under fictitious names is
16      in some manner responsible for the wrongs and damages alleged below, in so acting was
17      functioning as the agent, servant, partner, and employee of the co-defendants, and in tak-
18     ing the actions mentioned below was acting within the course and scope of his or her auth-
19     ority as such agent, servant, partner, and employee, with the permission and consent of the
20     co-defendants. The named defendants and Doe defendants are sometimes hereafter re-
21     ferred to, collectively and/or individually, as "defendants."
22           6. Relationship of defendants: All defendants compelled, coerced, aided, and/or
23     abetted the discrimination, retaliation, and harassment alleged in this Complaint, which
24     conduct is prohibited under California Government Code section 12940(i). All defen-
25     dants were responsible for the events and damages alleged herein, including on the fol-
26     lowing bases: (a) defendants committed the acts alleged; (b) at all relevant times, one or
27     more of the defendants was the agent or employee, and/or acted under the control or
2s     supervision, of one or more of the remaining defendants and, in committing the acts

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 1      alleged, acted within the course and scope of such agency and employment and/or is or
 2      are otherwise liable for plaintiff s damages; (c) at all relevant times, there existed a unity
 3      of ownership and interest between or among two or more of the defendants such that any
 4      individuality and separateness between or among those defendants has ceased, and de-
 s      fendants are the alter egos of one another. Defendants exercised domination and control
 6     over one another to such an extent that any individuality or separateness of defendants
 7      does not, and at all times herein mentioned did not, exist. Adherence to the fiction of the
 s     separate existence of defendants would permit abuse of the corporate privilege and
 9     would sanction fraud and promote injustice. All actions of all defendants were taken by
10     employees, supervisors, executives, officers, and directors during employment with all
11     defendants, were taken on behalf of all defendants, and were engaged in, authorized, rati-
12     fied, and approved of by all other defendants.
13           7. The entity defendants both directly and indirectly employed plaintiff Harwood,
14     as defined in the Fair Employment and Housing Act ("FEHA") at Government Code
15     section 12926(d).
16           8. In addition, the entity defendants compelled, coerced, aided, and abetted the
17     discrimination, which is prohibited under California Government Code section 12940(i).
ls           9. Finally, at all relevant times mentioned herein, all defendants acted as agents of
19     all other defendants in committing the acts alleged herein.
20

21                                                VENUE
22         10. The actions at issue in this case occurred in the State of California, in the I
23     County of Los Angeles and the County of Orange. Under the California Fair ~
24     Employment Housing Act, this case can alternatively, at Plaintiff s choice, be filed:
2s                [I]n any county in the state in which the unlawful practice is alleged
                  to have been committed, in the county in which the records relevant
26                to the practice are maintained ... or in the county in which the
                  aggrieved person would have worked or would have had access to
27                the public accommodation but for the alleged unlawful practice, but
                  if the defendant is not found within any of thse counties, an action
2s                may be brought within the county of the defendant's residence or
                  principal office . . .
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 1     (California Government Code § 12965(b).)
 2         11. Here, Plaintiff worked in California, including in the Counties of Los Angeles
 3     and Orange. Her principal office was in her home, but her primary function being sales,
 4     required her to travel throughout California, including the Los Angeles County, where
 5     she was unlawfully deprived of inedically necessary work accommodations and a
 6     medical leave. In fact, a central basis for her claim (and adverse employment action) is
 7     the discriminatory, harassing, and retaliatory conduct she was subjected to while
 s     working in the counties of Los Angeles and Orange.
 9         12. Plaintiff visited the Los Angeles County locations to oversee the sales in those
lo     I locations and to manage direct reports in the Los Angeles County locations.
11         13. Plaintiff, as the vice president of sales, west region, oversaw multiple locations
12     throughout California. The majority of her direct and indirect reports in the west region
13     were in California.
14         14. What's more, Defendants maintain two principal offices in Los Angeles that are
15     within the County of Los Angeles.
16         15. "[I]n the absence of an affirmative showing to the contrary, the presumption is
17     that the county in which the title of the actions shows that the case is brought is, prima
ls           the proper county for the commencement and trial of the action." (Mission ImpoNts,
19     Inc. v. Superior Court (1982) 31 Ca1.3d 921, 928.) The FEHA venue statute — section
20     12965(b) — thus affords a wide choice of venue to persons who bring actions under
21     FEHA. (Brown v. Superior Court (1984) 37 Ca1.3d 477, 486.) "[T]he special provisions
22     of the FEHA venue statute control in cases involving FEHA claims joined with non-
23     FEHA claims arising from the same facts." (Id. at 487.)
24

25                      FACTS COMMON TO ALL CAUSES OF ACTION
26         16. Plaintiff's hiring.• Plaintiff Harwood, a 57-year-old Caucasian woman, was ~
27     employed by defendants for approximately one year, beginning on September 14, 2017,
2s     as area vice president of sales, west region.

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 1          17. Plaintifs job performance: Harwood worked diligently in her position until
 2     her employment was unlawfully terminated, on September l, 2018. At all times, she
 3     performed her job duties in an exemplary manner, and her supervisor praised her for her
 4      efforts to drive and deliver on the company's goals and commitments. In fact, the only
 5     review she ever received from defendants was a glowing one. Harwood reported to chief
 6     commercial officer Chris Hartman.
 7         18. Plaintifs protected status and activity:
 s              a. Plaintiff suffered from a disability, post-traumatic stress disorder, during her
 9     employment with defendants.
lo              b. Plaintiff requested reasonable accommodations for her disability.
11              c. Plaintiff is female.
12         19. Defendants' adverse employment actions and behavior:
13              a. On February 15, 2018, Harwood made a presentation on strategic planning
14     in front of 3 5 of Option Care's leaders, including defendant Rademacher and an indepen-
15     dent consulting firm. The presentation had been approved by Michael H. Shapiro,
16     Option Care's senior vice president and chief financial officer, and other senior leaders.
17     During the presentation, Harwood could see that defendant Rademacher was agitated,
ls     whispering and shaking his head in response to her. At the end of the presentation,
19     Harwood's supervisor, Hartman, boasted about her superb presentation. However, when
20     the presentation was complete, defendant Rademacher stood up and began to challenge
21     Harwood aggressively in front of all other leaders and the consulting firm represen-
22     tatives, who witnessed and probably recorded the incident. When he stood up,
23     Rademacher picked up a stack of books, aggressively slammed them down, and in an
24     angry and patronizing tone said, "I'm calling bullshit. Half of the shit up there you are
25     presenting isn't true." Then he asked the crowd, "How can you let her get away with
26     this?" and stormed out of the room. Stunned and humiliated, Harwood walked off the ~
27     stage and ran to the women's rest room, tearful and shaking.
2s              b. When Harwood came out of the bathroom, she ran into defendant

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 1     Rademacher, who stopped her and admitted to intentionally targeting her, saying, "That
 2     wasn't about you. I'm pissed. We need to raise the bar. No one is paying attention.
 3     Everyone is on their phones." He admitted, "I decided to use you to make my point, and
 4     I decided it was a good idea because I didn't want to upset the apple cart." He contin-
 s     ued, "It wasn't a performance review, but we just have to raise the bar."
 6              c. While Harwood was in the bathroom and while she was speaking to
 7     Rademacher, Hartman told everyone that what just had happened was inappropriate.
 s     After she returned to the presentation room, co-workers consoled her by apologizing for
 9     defendant Rademacher's behavior, saying things like "He's a dick. This is what he
lo     does." Hartman sat near her and agreed, "That was a really shitty thing for John to have
11     done to you," adding, "You just have to turn the page," and "I'm going to talk to John."
12              d. That afternoon, plaintiff was given het 90-day performance review, which
13     was great.
14              e. On February 17, perhaps recognizing the damaging magnitude of his .ac-
15     tions at the February 15 meeting, defendant Rademacher sent an e-mail to the attendees
16     of the meeting regarding the incident with Harwood, admitted to the team that his actions
17     appeared "unfairly [to] single[] out" Harwood, and attempted to justify his actions by
ls     claiming that "I challenged us to `raise our game. "' This was even more hurtful to
19     Harwood.
20              f. Subsequently, defendant Rude, the senior vice president of human re-
21     sources, also acknowledged that defendant Rademacher's behavior was inappropriate.
22     He asked if Harwood were "OK," and she said, "No, I am not OK." The next day, while
23     Harwood was supposed to be in a commercial for the company, she was unable to
24     participate because she was so anxious after defendant Rademacher's scornful treatment
25     on February 15. Harwood specifically said she was not "prepared to do the commer-
26     cial," but Jeremy Krick, director of marketing, insisted and tried to push her to do the
27     commercial. She then complained to her supervisor, who said, "You should go ride your
2s     horse this weekend, and by Monday you'11 be ready to tell John to f*ck off." Instead of

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 1      investigating her complaint, her supervisor told her to disregard the vulnerable emotional
 2      state she was in as a result of Rademacher's malicious comments and conduct. Harwood
 3      responded that she was not a robot, but he continued to insist, "You're just going to have
 4      to turn the page."
 5                g. As a direct result of the incident in which defendant Rademacher berated
 6      her, Harwood's physician diagnosed her with anxiety, insomnia, and post-traumatic
 7      stress disorder related to trauma and prescribed medicines on February 23, 2018.
 s Harwood was advised to take the medicines in particular when she was around
 9     Rademacher.
lo               h. A few weeks later, in March, Harwood had to attend a national sales meet-
11     ing in Las Vegas. That was the first time since the February presentation that she was in
12     defendant Rademacher's physical presence. She immediately became extremely tense
13     and anxious at the meeting. That evening; she continued to be anxious and was unable
14     to sleep. When she left Las Vegas, she informed Option Care, in particular Benson
15     Yang, area vice president of operations, of her diagnoses. Harwood explained that she
16     intended to work through it. She told Yang the entire story of the February 15 incident
17     and burst into tears. Yang acknowledged that defendant Rademacher's actions were
ls "egregious."
19                i. In March of 2018, Harwood had a call with defendant Rademacher and told i
20     him that she loved her job and her team and that she intended to restore her relationship
21     with him. Rademacher admitted to the wrongdoing, specifically "us[ing] the wrong
22     tone, the wrong time, the wrong place." He admitted that things were intense in Las
23     Vegas when he was in her presence. Despite his admissions, defendants did nothing to
24     address his targeted actions or to ensure that he would not subject her to similar conduct
25    I in the future.
26                j. In April of 2018, defendant Rademacher targeted and scolded another fe-
27     male employee in front of the same audience before whom he had berated Harwood. He
2s    I yelled at her, "You've done nothing in a year," and made the accusation that "Your team I

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 1      has done nothing in a year." She marched out of the ballroom and took a flight back
 2      home. The next day, that female employee filed a formal complaint. Mike Kirkbride,
 3      another area vice president, later told the employee that, if she had been presenting with
 4      a male employee, Rademacher would never treat another male employee in such a way:
 s     "He doesn't do this to men; he only does this to women." On April 21, as he had done
 6      before, defendant Rademacher sent an e-mail to the meeting attendees to justify his
 7      actions by claiming, "By creating an environment in which we, as a leadership team can
 8      get comfortable with challenging each other and driving constructive conflict will make
 9      us stronger ..." In his e-mail, he admitted to his outrageous targeting of the female
10      employee: "I fear that I may have pushed too far and too fast in some of my challenges
11     this week ..." Nevertheless, he pretextually justified his actions as being for the better-
12     ment of the "high-standards culture" of the organization.
13              k. On May 13, 2018, Harwood called defendant Rude and filed a formal com-
14     plaint with human resources against defendant Rademacher for his unlawful sex- and
15     gender-biased treatment. She described her concerns with lack of emotional safety and
16     hostility in the work place and her inability to do her job after Rademacher's attack.
17     While Rude promised her that an investigation would take place, no investigation was
18     ever done.
19               1. On July 16, Harwood called in for another presentation via a webinar to
20     prepare for the in-person presentation. Hartman was required to be on the webinar call,
21     but he did not dial in until after the majority of the presentation was complete. The
22     purpose of the webinar was to ensure that the presentation was fully prepared. Despite
23     being fully prepared during the presentation, Harwood froze and was unable to make the'
24     presentation because of the fear that she would be attacked again while she was present-
25     ing. She told her co-workers that she had post-traumatic stress disorder and that "I just
26     totally froze. I don't know what happened. I just froze." Consequently, the next day,
27     Harwood went to see her doctor, who placed her on leave, beginning July 18, for one
2s     week.

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 1                m. Immediately after Harwood presented her medical leave note to defendant
 2     Hart, the director of human resources, Hart called her the same day and proposed a sepa-
 3     ration package. He asked why she needed to be on leave and told her that she was con-
 4     cerned about Harwood's ability to do her job because she had to go to meetings and
 5     make presentations in person. Hart said, "Let me take off my HR hat, and let's talk
 6     about packaging you out. I'm worried about you being able to do your job. We offer to
 7     pay you, so your resume looks good. I'11 try to get you a one-year severance."
 a Harwood, stunned and confused about the phrase "packaging you out," responded that
 9     she had a desire to return to work, but Hart discouraged her, saying, "If you've been
lo dealing with this since February, I'm not sure you will get better." Harwood was
11     shocked, disbelieving, disappointed, discouraged, and hurt. Harwood asked Hart, "Is it
12     common practice for you to offer a separation package when someone submits a leave of
13     absence?" Hart replied that she did not normally do so, "but John's not going anywhere,
14     and you are in hell." She also mentioned, "I've been dealing with the wrath of John for
15     many, many years." She asked, "When do you think you will be back?" then threatened,
16     "If your leave takes long, we are going to terminate you." Noticing Harwood's reluc-
17     tance to be "packaged out," Hart felt the need to raise the stakes to entice her and there-
ls     fore promised to look into whether she could get Harwood an entire year of severance in
19     exchange for a release of all claims Harwood would have against defendants. Harwood
20     was stunned that defendants were offering to pay her nearly $200,000.00 to sign a
21     release.
22                n. The following week, while Harwood was still on medical leave, Hart con-
23     tacted her and said, "I talked to Mike Rude, senior vice president of human resources,
24     and he is offering nine months plus COBRA if you sign a non-retaliation agreement"—
25     admitting that Harwood was being "packaged out" in retaliat'ion. Hart also acknowl-
26     edged during the call that Yang, area vice president of operations, had contacted her and
27     said he was worried about Harwood's emotional state. Since her formal complaint to
2s     Option Care, Harwood was doing worse emotionally, her anxiety had increased, her in-

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 1     I somnia was worse, and she suffered from severe headaches, heartburn, and acid reflux.
 2              o. On July 23, Harwood's leave was extended by 30 days, and she was advised
 3     to see a therapist. She immediately forwarded the extended leave note to Hart, who
 4     responded that, because of the "extended leave, your access to Option Care will be dis-
 s     abled." At around the same time, plaintiff requested that, as an accommodation, she be
 6     permitted to make presentations via telephone, rather than in person, during her healing
 7     period when she returned to work. Hart responded: "I spoke to Mike Rude regarding
 a     your accommodation; Mike said no. It's your job to report in person on the forecast."
 9     Then she said again, "John is not going anywhere, and we realize you are in hell. I'm
lo     worried about your well-being, so we are offering a separation package of nine months.
11     Let me spell out the next six months. Your job is not protected today. We don't know if
12     short-term disability is protected. We can and will replace your job. Even if your short-
13     term disability is approved, your job is only protected for 12 weeks. If you are not better
14     by the 26 weeks, then Lincoln Financial will look at long-term disability. If that happens
15     we will terminate employment. Instead, we are offering you nine months of healing at
16     100 percent pay."
17              p. Harwood then sent an e-mail to confirm that she had been offered the sev-
ls erance agreement, and Hart replied that defendants would offer only six months of
19     COBRA, rather than the full nine months. Nevertheless, plaintiff learned that Yang, area
20     vice president of the west region, a male employee of Option Care, was permitted to
21     appear via telephone for the same presentation when he took time off for his son's sports
22     tournament out of town.
23              q. On August 22, Harwood's physician extended her leave to September 30.
24     Harwood feared that her employment would be terminated as a result of the extension of
25     her leave. In fact, her fears were validated when, on August 24, defendant Rude in
26     human resources gave her an ultimatum: "We need you to return to your role as AVP
27     sales on Monday, August 27, 2018 ... If you do not return to work on August 27th and
2s     we do not receive your decision on the salary continuation and COBRA subsidy offer by

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 1     Friday, August 30, 2018, we will assume that you are choosing to voluntarily resign
 2     from Option Care and we will take the necessary actions to terminate your employment
 3     effective August 31, 2018." On the same day, Harwood, who was deeply hurt and shak-
 4     en by the abrupt correspondence, responded to Rude, "I am not voluntarily resigning.
 s     This is beyond hurtful." Despite her response, on August 31, Rude told Harwood, with-
 6     out any basis, "I am assuming you will be signing the salary continuation and COBRA
 7     subsidy offer we extended (see attached)"—the same agreement that had initially been
 8     offered to plaintiff to "package her out." Harwood made no indication that she intended
 9     to sign the severance agreement.
10         20. Defendants' termination of plaintiff's employment: The next day, September 1,
11     2018, plaintiff was abruptly informed in writing that her employment was terminated.
12     Harwood was devastated and in shock that defendants chose to terminate her employ-
13     ment, despite her physician's ordered medical leave.
14         21. Economic damages: As a consequence of defendants' conduct, plaintiff has
15     suffered and will suffer harm, including lost past and future income and employment
16     benefits, damage to her career, and lost wages, overtime, unpaid expenses, and penalties,
17     as well as interest on unpaid wages at the legal rate from and after each payday on which
ls     those wages should have been paid, in a sum to be proven at trial.
19         22. Non-economic damages: As a consequence of defendants' conduct, plainti
20     has suffered and will suffer psychological and emotional distress, humiliation, and men-
21     tal and physical pain and anguish, in a sum to be proven at trial.
22         23. Punitive damages: Defendants' conduct constitutes oppression, fraud, and/or
23     malice under California Civil Code section 3294 and, thus, entitles plaintiff to an award
24     of exemplary and/or punitive damages.
25              a. Malice: Defendants' conduct was committed with malice within the mean-
26     ing of California Civil Code section 3294, including that (a) defendants acted with intent
27     to cause injury to plaintiff and/or acted with reckless disregard for plaintiff's injury, in-
2s     cluding by terminating plaintiff's employment and/or taking other adverse job actions

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 1     against plaintiff because of her disability, medical leave, sex, gender, and/or good faith
 2      complaints, and/or (b) defendants' conduct was despicable and committed in willful and
 3      conscious disregard of plaintiff's rights, health, and safety, including plaintiff's right to
 4     be free of discrimination, harassment, retaliation, abuse of the requirements of accom-
 s     modation and engaging in the interactive process, and wrongful . employment termina-
 6     tion.
 7               b. Oppression:     In addition, and/or alternatively, defendants' conduct was
 8      committed with oppression within the meaning of California Civil Code section 3294,
 9      including that defendants' actions against plaintiff because of her disability, medical
lo      leave, sex, gender, and/or good faith complaints were "despicable" and subjected plain-
11     tiff to cruel and unjust hardship, in knowing disregard of plaintiff s rights to a work
12     place free of discrimination, harassment, retaliation, abuse of the requirements of accom-
13     modation and engaging in the interactive process, and wrongful employment termina-
14     tion.
15               c. Fraud: In addition, and/or alternatively, defendants' conduct, as alleged,
16     was fraudulent within the meaning of California Civil Code section 3294, including that
17     defendants asserted false (pretextual) grounds for terminating plaintiff's employment
18     and/or other adverse job actions, thereby to cause plaintiff hardship and deprive her of
19     legal rights.
20          24. Attorneys' fees: Plaintiff has incurred and continues to incur legal expenses and
21     attorneys' fees.
22          25. Exhaustion of administrative remedies: Prior to filing this action, plaintiff ex-
23     hausted her administrative remedies by filing a timely administrative complaint with the
24     Department of Fair Employment and Housing ("DFEH") and receiving a DFEH right-to-
25     sue letter.
26

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                                                    -12-
                                    PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1                                     FIRST CAUSE OF ACTION
 2                          (Violation of FEHA (Government Code § 12900,
 3                       et seq.) (Discrimination, Harassment, and Retaliation
 4                           on the Basis of Disability)—Against All Entity
 5                              Defendants and Does 1 to 100, Inclusive)
 6       26. The allegations set forth in paragraphs 1 through 17 are re-alleged and incorpo-
 7   rated herein by reference.
 s       27. Plaintiffl s actual, perceived, and/or history of disability and/or other character- i
 9   istics protected by FEHA, Government Code section 12900, et seq., were motivating II
lo   factors in defendants' decision to terminate plaintiffls employment, not to retain, hire, or'
11   otherwise employ plaintiff in any position, to refuse to accommodate plaintiff, to refuse
12   to engage in the interactive process, and/or to take other adverse job actions against
13   plaintiff.
14       28. Defendants' conduct, as alleged, violated FEHA, Government Code section
15   12900, et seq., and defendants committed unlawful employment practices, including by
16   the following, separate bases for liability:
17                a. Discharging, barring, refusing to transfer, retain, hire, select, and/or employ,
Is   and/or otherwise discriminating against plaintiff, in whole or in part on the basis of
19   plaintiff's actual, perceived, and/or history of physical disability and/or other protected
20   characteristics, in violation of Government Code section 12940(a);
21                b. Failing to accommodate plaintiff's actual, perceived, and/or history of phys-
22   ical disability, in violation of Government Code section 12940(m);
23                c. Failing to engage in a timely, good faith interactive process to determine
24   reasonable accommodation, in violation of Government Code section 12940(n);
25                d. Failing to take all reasonable steps to prevent discrimination, harassment,
26   and retaliation based on actual, perceived, and/or history of physical disability, in viola-
27   tion of Government Code section 12940(k);
2s                e. Retaliating against plaintiff for seeking to exercise rights guaranteed under

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                                    PLAINTIFF' S COMPLAINT FOR DAMAGES
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 1     FEHA and/or opposing defendants' failure to provide such rights, including rights of
 2     reasonable accommodation, rights of interactive process, leave rights, and/or the right to
 3     be free of discrimination, in violation of Government Code section 12940(h);
 4              f. Failing to provide plaintiff with requisite statutory leave, violating notice
 5     and/or other procedural requisites of leave, and/or retaliating against plaintiff for taking
 6     leave, in violation of Government Code section 12945.2;
 7              g. Harassing plaintiff and/or creating a hostile work environment, in whole or
 s     in part on the basis of plaintiff's actual, perceived, and/or history of physical disability
 9     and/or other protected characteristics, in violation of Government Code section 129400);
lo              h. Retaliating against plaintiff for seeking to exercise rights guaranteed under
11     FEHA and/or opposing defendants' failure to provide such rights, including rights of
12     reasonable accommodation, rights of interactive process, leave rights, and/or the right to
13     be free of discrimination, in violation of Government Code section 12940(h);
14              i. Failing to provide plaintiff with requisite statutory leave, violating notice
ls     and/or other procedural requisites of leave, and/or retaliating against plaintiff for taking
16     leave, in violation of Government Code section 12945.2;
17              j. Failing to take all reasonable steps to prevent discrimination, harassment,
ls and retaliation based on actual, perceived, and/or history of physical disability, in
19     violation of Government Code section 12940(k).
20         29. As a proximate result of defendants' willful, knowing, and intentional miscon-
21     duct, plaintiff has sustained and continues to sustain substantial losses of earnings and
22     other employment benefits.
23         30. As a proximate result of defendants' willful, knowing, and intentional miscon-
24     duct, plaintiff has suffered and continues to suffer humiliation, emotional distress, and
25     physical and mental pain and anguish, all to her damage in a sum according to proof.
26         31. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.
27     Pursuant to Government Code section 12965(b), plaintiff is entitled to recover reason-
2s     able attorneys' fees and costs (including expert costs) in an amount according to proof.

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                                   PLAINTIFF' S COMPLAINT FOR DAMAGES
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1          32. Defendants' misconduct was committed intentionally, in a malicious, despica-
2      ble, oppressive manner, entitling plaintiff to punitive damages against defendants.
3

4                                    SECOND CAUSE OF ACTION
 5                              (Violation of FEHA (Government § 12900,
6                               et seq.) (Discrimination, Harassment, and
7                              Retaliation on the Basis of Sex)—Against All
 8        `                 Entity Defendants and Does 1 to 100, Inclusive)
9          33. The allegations set forth in paragraphs 1 through 24 are re-alleged and incorpo-
lo     rated herein by reference.
11         34. Plaintiffs, sex and/or other characteristics protected by FEHA, Government
12     Code section 12900, et seq., were motivating factors in defendants' decision not to re-
13     tain, hire, or otherwise employ plaintiff in any position and/or to take other adverse
14     employment actions, including constructive employment termination, against plaintiff.
15            35. During plaintiff's employment with defendants, defendants, through their su-
16     pervisors and employees, engaged in a series of acts that had a negative impact on 'the
17     treatment of female employees.
ls        36. During plaintiffls employment with defendants, defendants intentionally en-
19     gaged in harassment on the basis of sex.
20        37. Plaintiff is a qualified employee who performed her j ob in an exemplary man-
21     ner. Defendants subjected plaintiff to negative sex-based comments and to continuous
22     harassing and threatening behavior. Defendants intentionally harassed plaintiff in
23     violation of the law.
24        38. Defendants, through their managers and supervisors, made a number of com-
25     ments to and about plaintiff that exhibited harassing motivations, intentions, and con-
26     sciousness.
27        39. On the basis of the above, plaintiff believes and alleges that defendants ha-
2s     rassed her on the basis of her sex.

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                                    PLAINTIFF' S COMPLAINT FOR DAMAGES
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 1         40. Defendants' conduct, as alleged, violated FEHA, Government Code section
 2      12900, et seq., and defendants committed unlawful employment practices, including by
 3     the following, separate bases for liability:
 4               a. Barring, discharging, refusing to transfer, retain, hire, select, and/or employ,
 5     and/or otherwise discriminating against plaintiff, in whole or in part on the basis of
 6     plaintiff's sex and/or other protected characteristics, in violation of Government Code
 7     section 12940(a);
 8               b. Failing to take all reasonable steps to prevent discrimination, harassment,
 9     and retaliation based on sex in violation of Government Code section 12940(k);
lo               c. Retaliating against plaintiff for seeking to exercise rights guaranteed under
11     FEHA and/or opposing defendants' failure to provide such rights, in violation of Gov-
12     ernment Code section 12940(h):
13         41.   As a proximate result of defendants' willful, knowing, and intentional miscon-
14     duct, plaintiff has sustained and continues to sustain substantial losses of earnings and
15     other employment benefits.
16         42.   As a proximate result of defendants' willful, knowing, and intentional miscon-
17     duct, plaintiff has suffered and continues to suffer humiliation, emotional distress, and
18     physical and mental pain and anguish, all to her damage in a sum according to proof.
19         43.   Defendants' misconduct was committed intentionally, in a malicious, fraudu- I
20     lent, and oppressive manner, entitling plaintiff to punitive damages against defendants.
21         44. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.. I
22     Pursuant to Government Code section 12965(b), plaintiff is entitled to recover reason- I
23     able attorneys' fees and costs (including expert costs) in an amount according to proof.
24

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                                   PLAINTIFF' S COMPLAINT FOR DAMAGES
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 1                                     THIRD CAUSE OF ACTION
 2                             (Violation of FEHA (Government § 12900,
 3                             et seq.) (Discrimination, Harassment, and
 4                         Retaliation on the Basis of Gender)—Against All
 5                          Entity Defendants and Does 1 to 100, Inclusive)
 6          45. The allegations set forth in paragraphs 1 through 36 are re-alleged and incorpo-
 7      rated herein by reference.
 s          46. PlaintifF s gender and/or other characteristics protected by FEgiA, Government
 9      Code section 12900, et seq., were motivating factors in defendants' decision not to
lo     retain, hire, or otherwise employ plaintiff in any position and/or to take other adverse
11     employment actions, including constructive employment termination, against plaintiff.
12          47. During plaintiff's employment with defendants, defendants, through their su-
13     pervisors and employees, engaged in a series of acts that had a negative impact on the
14     treatment of female employees.
15         48. During plaintiff's employment with defendants, defendants intentionally en-
16     gaged in harassment on the basis of gender.
17         49. Plaintiff is a qualified employee who performed her job in an exemplary man-
ls     ner. Defendants subjected plaintiff to negative gender-based comments and to continu-
19     ous harassing and threatening behavior. Defendants intentionally harassed plaintiff in
20     violation of the law.
21         50. Defendants, through their managers and supervisors, made a number of com-
22     ments to and about plaintiff that exhibited harassing motivations, intentions, and con-
23     sciousness.
24         51. On the basis of the above, plaintiff believes and alleges that defendants ha- I
25    I rassed her on the basis of her gender.
26         52. Defendants' conduct, as alleged, violated FEHA, Government Code section I
27     12900, et seq., and defendants committed unlawful employment practices, including by
28     the following, separate bases for liability:

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                                     PLAINTIFF' S COMPLAINT FOR DAMAGES
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 1               a. Barring, discharging, refusing to transfer, retain, hire, select, and/or employ,
 2      and/or otherwise discriminating against plaintiff, in whole or in part on the basis of
 3      plaintiff's gender and/or other protected characteristics, in violation of Government Code
 4      section 12940(a);
 5               b. Failing to take all reasonable steps to prevent discrimination, harassment,
 6      and retaliation based on gender in violation of Government Code section 12940(k);
 7               c. Retaliating against plaintiff for seeking to exercise rights guaranteed under
 s      FEHA and/or opposing defendants' failure to provide such rights, in violation of Gov-
 9      ernment Code section 12940(h).
lo         53. As a proximate result of defendants' willful, knowing, and intentional miscon-
11      duct, plaintiff has sustained and continues to sustain substantial losses of earnings and
12      other employment benefits.
13         54. As a proximate result of defendants' willful, knowing, and intentional miscon-
14     duct, plaintiff has suffered and continues to suffer humiliation, emotional distress, and
15     physical and mental pain and anguish, all to her damage in a sum according to proof.
16         55. Defendants' misconduct was committed intentionally, in a malicious, fraudu-
17     lent, and oppressive manner, entitling plaintiff to punitive damages against defendants.
ls         56. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.
19     Pursuant to Government Code section 12965(b), plaintiff is entitled to recover reason-
20     able attorneys' fees and costs (including expert costs) in an amount according to proof.
21

22                                   FOURTH CAUSE OF ACTION
23                   (Violation of FEHA (Government Code § 12940(a), (i), (m),
24                     (n)) (Failure to Provide Reasonable Accommodation)—
25                   Against All Entity Defendants and Does 1 to 100, Inclusive)
26         57. The allegations set forth in paragraphs 1 through 48 are re-alleged and incorpo-
27     rated herein by reference.
28         58. At all times herein mentioned, FEHA, Government Code section 12940(a), (i),

                                                   -1 s-
                                    PLAINTIFF'S COMPLAINT FOR DAMAGES
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     (m), and   (n),   was in full force and effect and was binding on defendants. This statute
 2   requires defendants to provide reasonable accommodations to known disabled employ-
 3   ees. Within the time provided by law, plaintiff filed a complaint with the DFEH, in full
 4   compliance with administrative requirements, and received a right-to-sue letter.
 5       59. Defendants wholly failed to atteinpt any reasonable accommodation of plain-
 6   tiffls known disability. Defendants used plaintiff's disability and her need to take medi-
 7   cal leave -as an excuse for terminating plaintiffl s employment.
 8       60. Plaintiff believes and on that basis alleges that her disability and the need to
 9   accommodate her disability were substantial motivating factors in defendants' termina-
lo   tion of her employment.
11       61. As a proximate result of defendants' willful, knowing, and intentional miscon-
12   duct, plaintiff has sustained and continues to sustain substantial losses of earnings and
13   other employment benefits.
14       62. As a proximate result of defendants' willful, knowing, and intentional miscon-
15   duct, plaintiff has suffered and continues to suffer humiliation, emotional distress, and
16   physical and mental pain and anguish, all to her damage in a sum according to proof.
17       63. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.
18   Pursuant to Government Code section 12965(b), plaintiff is entitled to recover reason-
19   able attorneys' fees and costs (including expert costs) in an amount according to proof.
20       64. Defendants' misaonduct was committed intentionally, in a malicious, despica- I
21   ble, oppressive manner, entitling plaintiff to punitive damages against defendants.
22

23                                   FIFTH CAUSE OF ACTION
24                      (Failure to Engage in Interactive Process (Government
25                         Code § 12940(a), (i), (m), (n))—Against All Entity
26                             Defendants and Does 1 to 100, Inclusive)
27       65. The allegations set forth in paragraphs 1 through 56 are re-alleged and incorpo-
28   rated herein by reference.

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                                   PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1       66. At all times herein mentioned, FEHA, Government Code section 12940(a), (i),
 2   (m), and (n), was in full force and effect and was binding on defendants. This statute
 3   requires defendants to engage in a timely, good faith interactive process to accommodate
                            ~.
 4   known disabled employees. Within the time provided by law, plaintiff filed a complaint
 5   with the DFEH, in full compliance with administrative requirements, and received a
 6   right-to-sue letter.
 7       67. Defendants wholly failed to engage in a timely, good-faith interactive process
 s   with plaintiff to accommodate her known disabilities. Instead, defendants terminated.
 9   plaintiff s employment in part because of her disabilities.
lo       68. Plaintiff believes and on that basis alleges that her disability was a motivating
11   factor in defendants' termination of her employment.
12       69. As a proximate result of defendants' willful, knowing, and intentional miscon-
13   duct, plaintiff has sustained and continues to sustain substantial losses of earnings and
14   other employment benefits.
15       70. As a proximate result of defendants' willful, knowing, and intentional miscon-
16   duct, plaintiff has suffered and continues to suffer humiliation, emotional distress, and
17   phy.sical and mental pain and anguish, all to her damage in a sum according to proof.
18       71. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.
19   Plaintiff is at present unaware of the precise amounts of these expenses and fees and will
20   seek leave of court to amend this Complaint when the amounts are fully known.
21       72. Defendants' misconduct was committed intentionally, in a malicious, despica-
22   ble, oppressive manner, entitling plaintiff to punitive damages against defendants.
23

24                                SIXTH CAUSE OF ACTION
25                 (Violation of FEHA (Government Code § 12940(k) (Failure
26                 to Prevent Discrimination, Harassment, and Retaliation)—
27                 Against All Entity Defendants and Does 1 to 100, Inclusive)
28      73. The allegations set forth in paragraphs 1 through 64 are re-alleged and incorpo- I

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                                 PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1      rated herein by reference.
 2          74. At all times herein mentioned, FEHA, Government Code section 12940(k), was
 3      in full force and effect and was binding on defendants. This statute states that it is an
 4      unlawful employment practice in California for an employer "to fail to take all rea-
 5      sonable steps necessary to prevent discrimination and harassment from occurring." Prior
 6      to filing the instant Complaint, plaintiff filed a timely administrative charge with the
 7      DFEH and received a right-to-sue letter.
 a          75. During the course of plaintiff's employment, defendants failed to prevent their
 9      employees from engaging in intentional actions that resulted in plaintiff's being treated
lo      less favorably because of plaintiff's protected status (i. e., her disability, medical leave,
11      sex, gender, and/or sexual orientation). During the course of plaintiff's employment,
12     defendants failed to prevent their employees from engaging in unjustified employment
13     practices against employees in such protected classes. During the course of plaintiff's
14     employment, defendants failed to prevent a pattern and practice by their employees of
15     intentional discrimination and harassment on the bases of disability, medical leave, sex,
16     gender, and/or other protected statuses or protected activities.
17          76. Plaintiff believes and on that basis alleges that her disability, medical leave, sex,
ls     gender, and/or other protected status and/or protected activity were substantial motivat-
19     ing factors in defendants' employees' discrimination and retaliation against her.
20         77. As a proximate result of defendants' willful, knowing, and intentional miscon-
21     duct, plaintiff has sustained and continues to sustain substantial losses of earnings and
22     other employment benefits.
23         78. As a proximate result of defendants' willful, knowing, and intentional miscon-
24     duct, plaintiff has suffered and continues to suffer humiliation, emotional distress, and
25     physical and mental pain and anguish, all to her damage in a sum according to proof.
26         79. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.
27     Pursuant to Government Code section 12965(b), plaintiff is entitled to recover reason-
2s     able attorneys' fees and costs (including expert costs) in an amount according to proof.

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                                     PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1         80. Defendants' misconduct was committed intentionally, in a malicious, despica-
 2     ble, oppressive manner, entitling plaintiff to punitive damages against defendants.
 3

 4                                  SEVENTH CAUSE OF ACTION
 5                      (Breach of Express Oral Contract Not to Terminate
 6                    Employment Without Good Cause)—Against All Entity
 7                            Defendants and Does 1 to 100, Inclusive)
 s         81. The allegations set forth in paragraphs 1 through 72 are re-alleged and incorpo-
 9     rated herein by reference.
10         82. Defendants, through their agents, entered an oral agreement not to terminate
11     plaintiffs employment except for good cause. Plaintiff and defendants, through their
12     supervisors, made mutual promises of consideration pursuant to this oral agreement.
13     Plaintiff performed all duties required of her under the agreement by performing her job
14     in an exemplary manner.
15         83. Defendants and their managers and supervisors terminated plaintiff's employ-
16     ment without good cause, violating the express oral contract they had with her.
17         84. As a proximate result of defendants' willful breach of the express oral contract
la     not to terminate employment without good cause, plaintiff has suffered and continues to
19     suffer damages, including losses of earnings and benefits, in a sum according to proof.
20

21                                  EIGHTH CAUSE OF ACTION
22                           (Breach of Implied-in-Fact Contract Not to
23                          Terminate Employment Without Good Cause
24                          (Marketing West, Inc. v. Sanyo Fisher (1992) 6
25                       Ca1.App.4th 603; Civil Code § 1622)—Against All
26                         Entity Defendants and Does 1 to 100, Inclusive)
27         85. The allegations set forth in paragraphs 1 through 76 are re-alleged and incorpo-
2s     rated herein by reference.

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                                    PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1       86. On the basis of oral assurances of continued employment given to plaintiff by
 2   defendants' supervisors, the length of plaintiff's employment with defendants, defen-
 3   dants' actual practice of terminating employment only for cause, and the industry stan-
 4   dard for the business defendants engaged in of terminating employment only for cause,
 5   plaintiff and defendants shared the actual understanding that plaintiff's employment
 6   could and would be terminated only for cause. This shared understanding resulted in an
 7   implied contract requiring that defendants have good cause to terminate plaintiffls em-
 a ployment.
 9       87. Defendants and their managers and supervisors terminated plaintiffs employ-
lo   ment without good cause, violating the implied-in-fact contract they had with her.
11       88. As a proximate result of defendants' willful breach of the implied-in-fact con-
12   tract not to terminate employment without good cause, plaintiff has suffered and con-
13   tinues to suffer damages, including losses of earnings and benefits, in a sum according to
14   proof.
15       89. Plaintiff seeks attorneys' fees for lost wages under this cause of action under
16   Labor Code section 218.6.
17

la                                 NINTH CAUSE OF ACTION
19                  (Negligent Hiring, Supervision, and Retention—Against
20                     All Entity Defendants and Does 1 to 100, Inclusive)
21       90. The allegations set forth in paragraphs 1 through 81 are re-alleged and incorpo-
22   rated herein by reference.
23       91. Defendants owed a duty of care to plaintiff to appoint, hire, retain, and super-
24   vise persons who would not engage in retaliatory, harassing, or discriminatory conduct.
25   Defendants owed a duty of care to plaintiff not to retain managers or employees who
26   would discriminate against, harass, or retaliate against employees for engaging in pro-
27   tected activities. Defendants owed a duty of care to plaintiff to supervise their managers
28   and employees closely to ensure that they would refrain from harassing and retaliating

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                                  PLAINTIFF' S COMPLAINT FOR DAMAGES
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 1   against plaintiff.
 2       92. Defendants breached these duties. As a result, defendants caused damages to
 3   plaintiff. As a proximate result of defendants' negligent hiring, retention, and supervi-
 4   sion of their managers and employees, plaintiff has suffered and continues to suffer
 s   damages, including losses of earnings and benefits, according to proof.
 6

 7                                  TENTH CAUSE OF ACTION
 8                        (Wrongful Termination of Employment in Violation
 9                          of Public Policy (Labor Code § 1102.5; FEHA,
lo                    Government Code § 12900, et seq.)—Against All Entity
11                             Defendants and Does 1 to 100, Inclusive)
12       93. The allegations set forth in paragraphs 1 through 84 are re-alleged and incorpo-
13   rated herein by reference.
14       94. Defendants terminated plaintiffl s employment in violation of various funda-
15   mental public policies underlying both state and federal laws. Specifically, plaintiff's
16   employment was terminated in part because of her protected status (i. e., disability, medi-
17   cal leave, sex, gender; and/or good faith complaints). These actions were in violation of
ls   FEHA, the California Constitution, and California Labor Code section 1102.5.
19       95. As a proximate result of defendants' wrongful termination of plaintiff's em- ,
20   ployment in violation of fundamental public policies, plaintiff has suffered and continues
21   to suffer humiliation, emotional distress, and mental and physical pain and anguish, all to I
22   her damage in a sum according to proof.
23       96. As a result of defendants' wrongful termination of her employment, plaintiff ~
24   has suffered general and special damages in sums according to proof.
2s       97. Defendants' wrongful termination of plaintiff's employment was done inten- ~
26   tionally, in a malicious, fraudulent, and/or oppressive manner, and this entitles plaintiff I
27   to punitive damages.
2s       98. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.

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                                  PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1   Pursuant to Code of Civil Procedure sections 1021.5 and 1032, et seq., plaintiff is enti-
 2   tled to recover reasonable attorneys' fees and costs in an amount according to proof.
 3

 4                                ELEVENTH CAUSE OF ACTION
 5                     (Violations of Labor Code § 1102.5, et seq.—Against
 6                      All Entity Defendants and Does 1 to 100, Inclusive)
 7       99. The allegations set forth in paragraphs 1 through 90 are re-alleged and incorpo-
 s   rated herein by reference.
 9     100. At all relevant times, Labor Code section 1102.5 was in effect and was binding
lo   on defendants. This statute prohibits defendants from retaliating against any employee,
11   including plaintiff, for raising complaints of illegality.
12     101. Plaintiff raised complaints of illegality while she worked for defendants, and
13   defendants retaliated against her by discriminating against her, harassing her, and taking
14   adverse employment actions, including employment termination, against her.
15     102. As a proximate result of defendants' willful, knowing, and intentional viola-
16   tions of Labor Code section 1102.5, plaintiff has suffered and continues to suffer humili-
17   ation, emotional distress, and mental, and physical pain and anguish, all to her damage in
ls   a sum according to proof.
19     103. As a result of defendants' adverse employment actions against plaintiff, plain-
20   tiff has suffered general and special damages in sums according to proof.
21     104. Defendants' misconduct was committed intentionally, in a malicious, fraudu-
22   lent, and/or oppressive manner, and this entitles plaintiff to punitive damages against
23   defendants.
24

25                                TWELFTH CAUSE OF ACTION
26                    (Intentional Infliction of Emotional Distress—Against
27                          All Defendants and Does 1 to 100, Inclusive)
2s     105. The allegations set forth in paragraphs 1 through 96 are re-alleged and incorpo-

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                                  PLAINTIFF' S COMPLAINT FOR DAMAGES
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 1   rated herein by reference.
 2     106. Defendants' discriminatory, harassing, and retaliatory actions against plaintiff
 3   constituted severe and outrageous misconduct and caused plaintiff extreme emotional
 4   distress.
 s     107. Defendants were aware that treating plaintiff in the manner alleged above,
 6   including depriving plaintiff of her livelihood while she was suffering from an actual,
 7   perceived, and/or history of disability, would devastate plaintiff and cause her extreme
 8   hardship.
 9     108. As a proximate result of defendants' extreme and outrageous conduct, plaintiff
lo   has suffered and continues to suffer severe emotional distress. Plaintiff has sustained
11   and continues to sustain substantial losses of earnings and other employment benefits as
12   a result of being emotionally distressed.
13     109. As a proximate result of defendants' extreme and outrageous conduct, plaintiff
14   has suffered and continues to suffer humiliation, emotional distress, and mental and
15   physical pain and anguish, all to her damage in a sum according to proof.
16     110. Defendants' misconduct was committed intentionally, in a malicious, fraudu-
17   lent, and/or oppressive manner, and this entitles plaintiff to punitive damages.
ls

19                                           1-97~`/ ~:~
20        WHEREFORE, plaintiff, Jennifer Harwood, prays for judgment against defendants
21   as follows:
22        1. For general and special damages according to proof;
23        2. For exemplary damages, according to proof;
24        3. For pre judgment and post judgment interest on all damages awarded;
2s        4. For reasonable attorneys' fees;
26        5. For declaratory relief;
27        6. For costs of suit incurred;
28        7. For such other and further relief as the Court may deem just and proper.

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                                  PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1          ADDITIONALLY, plaintiff, Jennifer Harwood, demands trial of this matter by
 2     jury. The amount demanded exceeds $25,000.00 (Government Code § 72055).
 3

 4     Dated: December 28, 2018             SHEGERIAN & ASSOCIATES, INC.
 5

 6                                    By:
                                            Carnea. Sheger' , Esq.
 7
                                            Attorneys for Plaintiff
 8                                          JENNIFER HARWObD
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                                PLAINTIFF'S COMPLAINT FOR DAMAGES
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                                                                                                     Reserved for Clerk's File Stamp
                    SUPERIOR COURT OF CALIFORNIA
                       COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                          FILE®
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                                                                                            BY             Nancy Alvarez
                             UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:

   Your case is assigned for all purposes to the judicial officer indicated below.   18STCV 10315

                              THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                  ASSIGNED JUDGE              DEPT     ROOM                      ASSIGNED JUDGE                       DEPT             ROOM
    ✓      Barbara M. Scheper                30
                                                                   ~   ~-F                                                       I




     Given to the Plaintiff/Cross-Complainant/Attorney of Record       Sherri R. Carter, Executive Officer / Clerk of Court
     on 01/10/2019                                                            By Nancy Alvarez                                       , Deputy Clerk
                    (Date)
LACIV 190 (Rev 6/18)          NOTICE OF CASE ASSIGNMENT — UNLIIVIITE® CIVIL CASE
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